                   Case 17-24063                        Doc 19               Filed 09/08/17 Entered 09/08/17 14:42:18                                       Desc Main
                                                                              Document     Page 1 of 135
 Fill in this information to identify your case and this filing:

 Debtor 1                    David J Smat
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

 Case number            17-24063                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2036 W. Barry Ave                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Chicago                           IL                                           Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                            $1,500,000.00                 $1,500,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenancy by Entirety
        Cook                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                PIN 14-30-106-067-0000
                                                                                Value is estimated




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
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 Debtor 1         David J Smat                                                                                                  Case number (if known)          17-24063

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        Peppertree Ocean Club                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
        1908 N Ocean Blvd                                                             Duplex or multi-unit building
                                                                                                                                      the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                            Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        North Myrtle Beach SC                       29582-0000                        Land                                            entire property?              portion you own?
        City                              State              ZIP Code                 Investment property                                         Unknown                       Unknown
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Fee simple
        Horry                                                                         Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             1 BR unit. One floating week per year. Purchased for $6,000 in '90s.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $1,500,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         Mercedes                                        Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        GL450                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2012                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                       33,000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Value is estimated
                                                                           Check if this is community property                                 $22,500.00                    $22,500.00
                                                                           (see instructions)



  3.2     Make:         GMC                                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Denali XL                                          Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2016                                               Debtor 2 only                                               Current value of the         Current value of the
          Approximate mileage:                        24000                Debtor 1 and Debtor 2 only                                  entire property?             portion you own?
          Other information:                                               At least one of the debtors and another
         Value is estimated
                                                                           Check if this is community property                                 $53,000.00                    $53,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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  3.3    Make:       Kia                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Soul                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:              Unknown                   Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Value is estimated
                                                                     Check if this is community property                                $6,500.00                  $6,500.00
                                                                     (see instructions)



  3.4    Make:       Kia                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Soul                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:              Unknown                   Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Value is estimated
                                                                     Check if this is community property                                $6,500.00                  $6,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $88,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Ordinary assortment of household goods (Total value $2,170.50)                                                                  $1,085.25


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Ordinary assortment of TVs, stereos, laptops and iPads (Total value
                                    $1285)                                                                                                                            $642.50


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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 Debtor 1         David J Smat                                                                                                Case number (if known)   17-24063
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Ordinary wearing apparel, wedding band and watch                                                                             $600.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Cat and guinea pig                                                                                                               $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $2,327.75


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                      $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                          Joint Checking-
                                              17.1.       account #9440                           US Bank                                                                    $0.00



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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                                               Joint money market-
                                      17.2.    account #2114       Etrade                                                                          $233.07


                                               Joint Savings-
                                      17.3.    account #4703                Alliant                                                                $735.51


                                               Joint checking-
                                      17.4.    account #2657                BMO Harris Bank                                                        $705.20


                                               Checking account
                                      17.5.    #2649                        BMO Harris Bank                                                        $983.75


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                       % of ownership:

                                         iNETWORKS Group, Inc. (ceased operations July
                                         2017)                                                               80%           %                           $0.00


                                         Innovative Government Tele Solutions, Inc. (ceased
                                         operations July 2017)                                               80%           %                           $0.00


                                         iNETWORKS Services LLC (ceased operations July
                                         2017)                                                               100%          %                           $0.00


                                         ALNS Partners, Inc. (non-operating entity)                          100%          %                           $0.00


                                         iNETWORKS Resources LLC (non-operating entity)                      100%          %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                                                            Etrade- IRA account #4368                                              $500.29


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No

Official Form 106A/B                                                    Schedule A/B: Property                                                         page 5
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 Debtor 1         David J Smat                                                                                Case number (if known)      17-24063

        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                       Unpaid wages from iNetworks Group, Inc. (Uncollectible)                                          $23,643.02


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                            Surrender or refund
                                                                                                                                             value:

                                            Transamerica- Term policy #3936- No
                                            cash value                                               Debtor's children                                          $0.00


                                            American General Life- Term policy
                                            #7195- No cash value                                     Debtor's children                                          $0.00


Official Form 106A/B                                                    Schedule A/B: Property                                                                  page 6
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                                             American General Life- Term policy
                                             #4786- No cash value                                                     Debtor's children                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $26,850.84


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
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 Debtor 1         David J Smat                                                                                                          Case number (if known)   17-24063

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,500,000.00
 56. Part 2: Total vehicles, line 5                                                                           $88,500.00
 57. Part 3: Total personal and household items, line 15                                                       $2,327.75
 58. Part 4: Total financial assets, line 36                                                                  $26,850.84
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $117,678.59               Copy personal property total             $117,678.59

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,617,678.59




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                David J Smat
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number           17-24063
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2036 W. Barry Ave Chicago, IL                                  $1,500,000.00                                             735 ILCS 5/12-112
      Line from Schedule A/B: 1.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2036 W. Barry Ave Chicago, IL                                  $1,500,000.00                             $15,000.00      735 ILCS 5/12-901
      Line from Schedule A/B: 1.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2012 Mercedes GL450 33,000 miles                                 $22,500.00                                $2,400.00     735 ILCS 5/12-1001(c)
      Value is estimated
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Ordinary assortment of household                                  $1,085.25                                $1,085.25     735 ILCS 5/12-1001(b)
      goods (Total value $2,170.50)
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Ordinary assortment of TVs, stereos,                                $642.50                                  $207.22     735 ILCS 5/12-1001(b)
      laptops and iPads (Total value $1285)
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Ordinary wearing apparel, wedding                                   $600.00                                      100%        735 ILCS 5/12-1001(a)
     band and watch
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                 $50.00                                    $50.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint money market- account #2114:                                  $233.07                                   $233.07        735 ILCS 5/12-1001(b)
     Etrade
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint Savings- account #4703: Alliant                               $735.51                                   $735.51        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Joint checking- account #2657: BMO                                  $705.20                                   $705.20        735 ILCS 5/12-1001(b)
     Harris Bank
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking account #2649: BMO Harris                                  $983.75                                   $983.75        735 ILCS 5/12-1001(b)
     Bank
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Etrade- IRA account #4368                                           $500.29                                      100%        735 ILCS 5/12-704
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   David J Smat
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number           17-24063
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     Alliant Credit Union                     Describe the property that secures the claim:                $858,361.91            $1,500,000.00                      $0.00
         Creditor's Name                          2036 W. Barry Ave Chicago, IL

         PO Box 66945
                                                  As of the date you file, the claim is: Check all that
         11545 W Toughy Ave                       apply.
         Chicago, IL 60666                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number        7036

 2.2     Cook County Treasurer                    Describe the property that secures the claim:                    $7,958.00          $1,500,000.00                      $0.00
         Creditor's Name                          2036 W. Barry Ave Chicago, IL
                                                  PIN 14-30-106-067-0000
         Law Dep't.
                                                  As of the date you file, the claim is: Check all that
         118 North Clark Street                   apply.
         Chicago, IL 60602                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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 Debtor 1 David J Smat                                                                                        Case number (if know)   17-24063
               First Name                  Middle Name                      Last Name


                                 Unpaid 2nd
                                 installment
 Date debt was incurred          2016                        Last 4 digits of account number


 2.3     GMAC                                       Describe the property that secures the claim:                   $61,843.46          $53,000.00       $8,843.46
         Creditor's Name                            2016 GMC Denali XL 24000 miles
                                                    Value is estimated
                                                    As of the date you file, the claim is: Check all that
         PO Box 183834                              apply.
         Arlington, TX 76096-3834                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         6583

 2.4     KIA Motors Finance                         Describe the property that secures the claim:                     $7,800.00          $6,500.00       $1,300.00
         Creditor's Name                            2014 Kia Soul Unknown miles
                                                    Value is estimated
                                                    As of the date you file, the claim is: Check all that
         PO Box 650805                              apply.
         Dallas, TX 75265-0805                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     KIA Motors Finance                         Describe the property that secures the claim:                     $7,800.00          $6,500.00       $1,300.00
         Creditor's Name                            2014 Kia Soul Unknown miles
                                                    Value is estimated
                                                    As of the date you file, the claim is: Check all that
         PO Box 650805                              apply.
         Dallas, TX 75265-0805                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 4
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 Debtor 1 David J Smat                                                                                        Case number (if know)   17-24063
               First Name                  Middle Name                      Last Name



 2.6     Mercedes Financial                         Describe the property that secures the claim:                   $18,548.30          $22,500.00              $0.00
         Creditor's Name                            2012 Mercedes GL450 33,000 miles
                                                    Value is estimated
                                                    As of the date you file, the claim is: Check all that
         PO Box 685                                 apply.
         Roanoke, TX 76262                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         2201

         Peppertree Ocean Club
 2.7                                                                                                                    $645.98           Unknown          Unknown
         Homeowners                                 Describe the property that secures the claim:
         Creditor's Name                            Peppertree Ocean Club 1908 N Ocean
                                                    Blvd North Myrtle Beach, SC 29582
                                                    Horry County
         c/o Patton Hospitality                     1 BR unit. One floating week per year.
         Management                                 Purchased for $6,000 in '90s.
                                                    As of the date you file, the claim is: Check all that
         One Vance Gap Road                         apply.
         Asheville, NC 28805                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3445

 2.8     US Bank                                    Describe the property that secures the claim:                  $208,928.20        $1,500,000.00             $0.00
         Creditor's Name                            2036 W. Barry Ave Chicago, IL

                                                    As of the date you file, the claim is: Check all that
         4801 Fredericka St                         apply.
         Owensboro, KY 42301                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0511


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 4
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 Debtor 1 David J Smat                                                                            Case number (if know)        17-24063
              First Name                Middle Name                     Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                     $1,171,885.85
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                    $1,171,885.85

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                     David J Smat
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ILLINOIS

 Case number           17-24063
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          Alabama Department of Revenue                          Last 4 digits of account number                                  $0.00               $0.00                 $0.00
              Priority Creditor's Name
              P.O. Box 327320                                        When was the debt incurred?
              Montgomery, AL 36132-7320
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 113
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 2.2      Arkansas Secretary of State                                Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          1401 W. Capitol - Ste 250                                  When was the debt incurred?
          Little Rock, AR 72201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.3      Comptroller of Maryland Rev Admin                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          110 Carroll Street                                         When was the debt incurred?
          Annapolis, MD 21411-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.4      Comptroller of Public Accounts                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 149348                                            When was the debt incurred?
          Austin, TX 78714-9348
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 113
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 2.5      DC Treasurer Dept of Consumer                              Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 91360                                               When was the debt incurred?
          Washington, DC 20090
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.6      FL Dept of Revenue                                         Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 6520                                                When was the debt incurred?
          Tallahassee, FL 32314-6520
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.7      Florida Department of Revenue                              Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          5050 W. Tennessee St                                       When was the debt incurred?
          Tallahassee, FL 32399-0135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetwork Services LLC and Innovative
                                                                                         Government Telecom Solutions, Inc.- listed for notice
                                                                                         only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 113
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 Debtor 1 David J Smat                                                                                       Case number (if know)         17-24063

 2.8      Franchise Tax Board                                        Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 942857                                              When was the debt incurred?
          Sacremento, CA 94257-0531
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.9      Georgia Department of Revenue                              Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 740240                                              When was the debt incurred?
          Atlanta, GA 30374-0240
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.1
 0        IL Dep of Employment Security                              Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          33 S. State Street, 10th Fl.                               When was the debt incurred?
          Chicago, IL 60603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 4 of 113
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 Debtor 1 David J Smat                                                                                       Case number (if know)         17-24063

 2.1
 1        Illinois Department of Revenue                             Last 4 digits of account number                         Unknown            Unknown             Unknown
          Priority Creditor's Name
          Bankruptcy Unit                                            When was the debt incurred?
          P.O. Box 19035
          Springfield, IL 62794-9035
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.1
 2        Illinois Department of Revenue                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 19045                                               When was the debt incurred?
          Springfield, IL 62794-9045
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Services, LLC, iNetworks
                                                                                         Group, Inc. and Innovative Government Telecom
                                                                                         Solutions, Inc.- listed for notice only

 2.1
 3        Indiana Department of Revenue                              Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          Bankruptcy Section MS 108                                  When was the debt incurred?
          100 N. Senate Ave N240
          Indianapolis, IN 46204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Services, LLC - listed for notice
                                                                                         only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 5 of 113
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 Debtor 1 David J Smat                                                                                       Case number (if know)         17-24063

 2.1
 4        Internal Revenue Service                                   Last 4 digits of account number                         Unknown            Unknown             Unknown
          Priority Creditor's Name
          PO Box 7346                                                When was the debt incurred?
          Philadelphia, PA 19101-7346
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.1
 5        Kentucky Department of Revenue                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 5222                                              When was the debt incurred?
          Frankfort, KY 40620-0021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc. and iNetworks Group, Inc- listed for notice only

 2.1      Louisville Metro Revenue
 6        Commission                                                 Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 35410                                               When was the debt incurred?
          Louisville, KY 40232-5410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.1      Massachusetts Department of
 7        Revenue                                                    Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 7025                                              When was the debt incurred?
          Boston, MA 02204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc. and iNetworks Group, Inc- listed for notice only

 2.1
 8        Minnesota Department of Revenue                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          Mail Station 6330                                          When was the debt incurred?
          St. Paul, MN 55146-6330
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc. and iNetworks
                                                                                         Services, LLC - listed for notice only

 2.1
 9        Minnesota Secretary of State                               Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          60 Empire Drive - Suite 100                                When was the debt incurred?
          St Paul, MN 55103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Services, LLC - listed for notice
                                                                                         only




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 2.2
 0        Mississippi Department of Revenue                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 23075                                               When was the debt incurred?
          Jackson, MS 39225-3075
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.2
 1        New Jersey Department of Revenue                           Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 245                                               When was the debt incurred?
          Trenton, NJ 08695-0245
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.2
 2        New York Department of Revenue                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 22094                                               When was the debt incurred?
          Albanay, NY 12201-2094
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.2
 3        NH DRA Audit Division                                      Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 457                                                 When was the debt incurred?
          Concord, NH 03302-0457
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.2
 4        North Carolina Department of Rev                           Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 25000                                               When was the debt incurred?
          Raleigh, NC 27640-0520
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.2
 5        Office of Tax and Revenue                                  Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 96019                                               When was the debt incurred?
          Washington, DC 20090-6019
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.2
 6        Ohio Department of Taxation                                Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 182101                                            When was the debt incurred?
          Columbus, OH 43218-2101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.2
 7        Ohio Treasurer of State                                    Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 182101                                            When was the debt incurred?
          Columbus, OH 43218-2101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.2
 8        Oregon Dept. of Revenue                                    Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 14780                                               When was the debt incurred?
          Salem, OR 97309-0469
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.2
 9        PA Department of Revenue                                   Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 280418                                            When was the debt incurred?
          Harrisburg, PA 17128-0418
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.3      Prince George's County
 0        Government                                                 Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          14741 Governor Oden Bowie Dr.                              When was the debt incurred?
          Suite 1090
          Upper Marlboro, MD 20772
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.3      Rhode Island Department Of
 1        Revenue                                                    Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          One Capital Hill                                           When was the debt incurred?
          Suite 9
          Providence, RI 02908-5807
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.3
 2        Rhode Island Division of Taxation                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          One Capitol Hill                                           When was the debt incurred?
          Providence, RI 02908
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc and iNetworks Group, Inc.- listed for notice only

 2.3
 3        RI Dep of State Div of Business                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          148 W. River Street                                        When was the debt incurred?
          Providence, RI 02940-2615
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.3
 4        Sangamon County ETSB                                       Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          2000 Shale Ave                                             When was the debt incurred?
          Springfield, IL 62703
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.3
 5        Secretary of State Business Svc                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          302 W. Washington St. - Rm E018                            When was the debt incurred?
          Indianapolis, IN 46204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.3
 6        Secretary of State Business Svc                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 5616                                              When was the debt incurred?
          Montgomery, AL 36103-5616
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.3
 7        South Carolina Dept. of Rev.                               Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          300A Outlet Pointe Blvd.                                   When was the debt incurred?
          PO Box 125
          Columbia, SC 29214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.3
 8        South Carolina Dept. of Revenue                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          301 Gervais Street                                         When was the debt incurred?
          PO Box 125
          Columbia, SC 29214
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.3      South Dakota Department of
 9        Revenue                                                    Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 5055                                                When was the debt incurred?
          Sioux Falls, SD 57117-5055
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 0        State of Alabama                                           Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 327790                                            When was the debt incurred?
          Montgomery, AL 36132-7790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.4
 1        State of Arkansas                                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          7th & Wolf St                                              When was the debt incurred?
          P.O. Box 896
          Little Rock, AR 72203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 2        State of Colorado TRS Services                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          1560 Broadway                                              When was the debt incurred?
          Ste 250
          Denver, CO 80202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 3        State of Maryland                                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          301 W. Preston Street                                      When was the debt incurred?
          Baltimore, MD 21201-2395
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.4
 4        State of Maryland Personal Property                        Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          301 W. Preston Street - Rm 801                             When was the debt incurred?
          Baltimore, MD 21201-2395
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only

 2.4
 5        State of Michigan                                          Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          7150 Harris Drive                                          When was the debt incurred?
          PO Box 30221
          Lansing, MI 48909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 6        State of New Hampshire                                     Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 457                                               When was the debt incurred?
          Concord, NH 03302-0457
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.4
 7        State of Rhode Island                                      Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          89 Jefferson Blvd                                          When was the debt incurred?
          Warwick, RI 02888
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 8        State of Wisconsin                                         Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          Drawer 978                                                 When was the debt incurred?
          Milwaukee, WI 53293-0978
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.4
 9        Taxation and Revenue Dept                                  Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 25128                                               When was the debt incurred?
          Santa Fe, NM 87504-5123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.5
 0        Tennessee Department of Revenue                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          State Office Building                                      When was the debt incurred?
          500 Deaderick Street
          Nashville, TN 37242
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5
 1        Tennessee Regulatory Authority                             Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          502 Deaderick Street                                       When was the debt incurred?
          4th Fl
          Nashville, TN 37243
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5
 2        Treasurer, State of Vermont                                Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          112 State Street                                           When was the debt incurred?
          Montpelier, VT 05620-2601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only




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 2.5
 3        Utah State Tax Commission                                  Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          210 N. 1950 W.                                             When was the debt incurred?
          Salt Lake City, UT 84134-0130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5
 4        VA Dept of Taxation                                        Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 26627                                               When was the debt incurred?
          Richmond, VA 23261-6627
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5
 5        Vermont Department of Taxes                                Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          133 State Street                                           When was the debt incurred?
          Montpelier, VT 05633-1401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc. and iNetworks Group, Inc- listed for notice only




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 2.5
 6        Vermont Treasurer of State                                 Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          133 State Street                                           When was the debt incurred?
          Montepelier, VT 05633-1401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5
 7        Virginia Department of Taxation                            Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 1500                                                When was the debt incurred?
          Richmond, VA 23218-1500
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of iNetworks Group, Inc - listed for notice only

 2.5      Washington State Department of
 8        Rev                                                        Last 4 digits of account number                               $0.00              $0.00              $0.00
          Priority Creditor's Name
          PO Box 34051                                               When was the debt incurred?
          Seattle, WA 98124-1051
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No
                                                                        Other. Specify
           Yes                                                                           creditor of Innovative Government Telecom Solutions,
                                                                                         Inc.- listed for notice only




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 2.5
 9          Wisconsin Department of Revenue                          Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            PO Box 8908                                              When was the debt incurred?
            Madison, WI 53708-8908
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes                                                                            creditor of iNetworks Group, Inc - listed for notice only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        111 S WACKER DR GARAGE                                     Last 4 digits of account number                                                                          $0.00
            Nonpriority Creditor's Name
            111 S. Wacker Drive                                        When was the debt incurred?
            Chicago, IL 60606
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent

                 Debtor 2 only                                             Unliquidated

                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             creditor of iNetworks Services, LLC - listed for
                 Yes                                                       Other. Specify    notice only




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 4.2      125 S. Wacker Property Owner LLC                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75 Remittance Dr                                            When was the debt incurred?
          Dept 3253
          Chicago, IL 60675-3253
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.3      Adon Valdes                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7206 Chadsford Court                                        When was the debt incurred?
          Tampa, FL 33615
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.4      ADT Security Services                                       Last 4 digits of account number       1657                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 371878                                               When was the debt incurred?
          Pittsburgh, PA 15250-7878
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.5      Aerohive Networks, Inc.                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          330 Gibraltar Drive                                         When was the debt incurred?
          Sunnyvale, CA 94089
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.6      Aflac                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1932 Wynnton Road                                           When was the debt incurred?
          Columbus, GA 31999
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.7      Alan Jones                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5017 Gato Del Sol Cir                                       When was the debt incurred?
          Wesley Chapel, FL 33544
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.8      Alliant Credit Union                                        Last 4 digits of account number       3901                                           $23,993.80
          Nonpriority Creditor's Name
          PO Box 66945                                                When was the debt incurred?
          11545 W Touhy Ave
          Chicago, IL 60666
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   credit card- primarily for business purposes


 4.9      Amazon Web Services                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1200 12th Avenue South #1200                                When was the debt incurred?
          Seattle, WA 98144
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 0        American Express                                            Last 4 digits of account number       2000                                           $24,249.74
          Nonpriority Creditor's Name
          PO Box 0001                                                 When was the debt incurred?
          Los Angeles, CA 90096-8000
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   credit card




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 4.1
 1        American Express                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 0001                                                 When was the debt incurred?
          Los Angeles, CA 90096-8000
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 2        American Express                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 0001                                                 When was the debt incurred?
          Los Angeles, CA 90096-0001
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 3        American General Life                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 0798                                               When was the debt incurred?
          Carol Stream, IL 60132-0798
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 4        American General Life Insurance                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 305293                                             When was the debt incurred?
          Nashville, TN 37230-5400
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
                                                                                          Government Telecom Solutions, Inc. - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 5        AMEX Merchant                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Vesey Street                                            When was the debt incurred?
          New York, NY 10285-3106
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 6        Anixter                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 847428                                             When was the debt incurred?
          Dallas, TX 75284-7428
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 7        Apollo Staffing, Inc.                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 N. Central Expressway                                  When was the debt incurred?
          Suite 208
          Richardson, TX 75080
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.1
 8        AppNeta                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          285 Summer Street 4th Floor                                 When was the debt incurred?
          Boston, MA 02210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 9        AppRiver, LLC                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1101 Gulf Breeze Parkway #200                               When was the debt incurred?
          Gulf Breeze, FL 32561
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 0        Aquachill-Drinking Water Systems                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1965                                                 When was the debt incurred?
          Valrico, FL 33595
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 1        Arrow                                                       Last 4 digits of account number       6968                                                   $0.00
          Nonpriority Creditor's Name
          13219 Collections Center Drive                              When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc.- listed for notice only


 4.2
 2        Arrow Systems Integration, Inc.                             Last 4 digits of account number       5143                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 4869                                                 When was the debt incurred?
          Department #145
          Houston, TX 77210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 3        AT&T                                                        Last 4 digits of account number       2                                                      $0.00
          Nonpriority Creditor's Name
          PO Box 6463                                                 When was the debt incurred?
          Carol Stream, IL 60197-6463
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 4        AT&T                                                        Last 4 digits of account number       1869                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 5025                                                 When was the debt incurred?
          Carol Stream, IL 60197-5025
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 5        AT&T                                                        Last 4 digits of account number       0836                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 5019                                                 When was the debt incurred?
          CAROL STREAM, IL 60197-5019
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 6        AT&T                                                        Last 4 digits of account number       1936                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 5011                                                 When was the debt incurred?
          Carol Stream, IL 60197-5011
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 7        Auctus Capital Partners, Inc.                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          125 S. Wacker Drive - Suite 2125                            When was the debt incurred?
          Chicago, IL 60606
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 8        AVG Technologies                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1125 Innovation Drive                                       When was the debt incurred?
          Ottawa, ON K2K 3G6
          Canada
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 9        Awareness Technologies                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          88 Post Rd. West, 1st Floor                                 When was the debt incurred?
          Westport, CT 06880
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.3
 0        Barracuda                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3175 Winchester Blvd                                        When was the debt incurred?
          Campbell, CA 95008
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.3
 1        BillStream, L.L.C.                                          Last 4 digits of account number       0060                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 20492                                              When was the debt incurred?
          Oklahoma City, OK 73156-0492
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.3
 2        Blue Cross Blue Shield                                      Last 4 digits of account number       1216                                                   $0.00
          Nonpriority Creditor's Name
          25550 Network Place                                         When was the debt incurred?
          Chicago, IL 60673-1255
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.3
 3        Bradley Dale                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4610 N Armenia Ave                                          When was the debt incurred?
          Tampa, FL 33603
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.3
 4        Bright House Networks                                       Last 4 digits of account number       5201                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 30574                                                When was the debt incurred?
          Tampa, FL 33630-3574
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.3
 5        Cash Crunch                                                 Last 4 digits of account number                                                     $122,843.24
          Nonpriority Creditor's Name
          30 Broad St, 12th FL                                        When was the debt incurred?
          New York, NY 10004
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          personal guaranty for INETWORKS
              Yes                                                        Other. Specify   SERVICES, LLC


 4.3
 6        CenturyLink                                                 Last 4 digits of account number       6909                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 52187                                                When was the debt incurred?
          Phoenix, AZ 85072-2187
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc.- listed for notice only


 4.3
 7        Cesar Brambila                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4924 W Oakdale Ave                                          When was the debt incurred?
          Chicago, IL 60641
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.3
 8        Chase                                                       Last 4 digits of account number       2979                                           $13,273.90
          Nonpriority Creditor's Name
          PO Box 15123                                                When was the debt incurred?
          Wilmington, DE 19850-5123
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   credit card


 4.3
 9        Chicago Messenger Service                                   Last 4 digits of account number       1155                                                   $0.00
          Nonpriority Creditor's Name
          1600 S. Ashland Ave.                                        When was the debt incurred?
          Chicago, IL 60608-2013
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc. and
              Yes                                                        Other. Specify   iNetworks Services, LLC - listed for notice only


 4.4
 0        Citrix                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7414 Hollister Ave                                          When was the debt incurred?
          Goleta, CA 93117
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.4
 1        Citrix Systems, Inc.                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          851 W. Cypress Creek Rd                                     When was the debt incurred?
          Fort Lauderdale, FL 33309
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.4
 2        City of Chicago                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          121 North LaSalle St                                        When was the debt incurred?
          Room 800
          Chicago, IL 60602
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.4
 3        City of Chicago- Dept of Revenue                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22149 Network Place                                         When was the debt incurred?
          Chicago, IL 60673-1221
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.4
 4        City of Tampa                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2105 N. Nebraska Ave - PO Box 2                             When was the debt incurred?
          Tampa, FL 33602
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.4
 5        City of Tampa Utilities                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 30191                                                When was the debt incurred?
          Tampa, FL 33630-3191
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.4
 6        CloudJumper                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4575 Pecan Dr                                               When was the debt incurred?
          3rd Fl.
          Paducah, KY 42001
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.4
 7        CNA Insurance                                               Last 4 digits of account number       7839                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 790094                                               When was the debt incurred?
          St. Louis, MO 63179-0094
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.4
 8        Colo Solutions, Inc.                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 W. Lucerne Circle - Suite 201                           When was the debt incurred?
          Orlando, FL 32801
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.4
 9        Comcast                                                     Last 4 digits of account number       1505                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 530098                                               When was the debt incurred?
          Atlanta, GA 30353-0098
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.5
 0        Comcast                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 3002                                                 When was the debt incurred?
          Southeastern, PA 19398-3002
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc- listed for notice only


 4.5
 1        Comed                                                       Last 4 digits of account number       2060                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 6111                                                 When was the debt incurred?
          Carol Stream, IL 60197-6111
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.5
 2        Commonwealth of Pennsylvania                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 61380                                                When was the debt incurred?
          Harrisburg, PA 17106-1380
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.5
 3        Comptroller of Maryland                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Carroll Street                                          When was the debt incurred?
          Annapolis, MD 21411-0001
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.5
 4        Comptroller of Maryland                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2601                                                 When was the debt incurred?
          Annapolis, MD 21404-2601
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.5
 5        Comptroller of Public Accounts                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 149356                                               When was the debt incurred?
          Austin, TX 78714-9356
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.5
 6        Comptroller of Public Accounts                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 149348                                               When was the debt incurred?
          Austin, TX 78714-9348
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.5
 7        Connecticut TRS                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 223035                                               When was the debt incurred?
          Pittsburgh, PA 15251-2035
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.5
 8        ConnectWise                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4110 George Road - Suite 200                                When was the debt incurred?
          Tampa, FL 33634
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.5
 9        Continuum                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Summer Street                                           When was the debt incurred?
          Boston, MA 02110
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.6
 0        Corporation Division Dept of State                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          107 North Main Street                                       When was the debt incurred?
          Concord, NH 03301-4989
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of Innovative Government Telecom
              Yes                                                        Other. Specify   Solutions, Inc.- listed for notice only


 4.6
 1        Craters and Freighters                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14476 Duval Place West - Suite 705                          When was the debt incurred?
          Jacksonville, FL 32218
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 Debtor 1 David J Smat                                                                                     Case number (if know)         17-24063

 4.6
 2        CT Corporation                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 4349                                                 When was the debt incurred?
          Carol Stream, IL 60197-4349
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC, iNetworks
                                                                                          Group, Inc and Innovative Government
              Yes                                                        Other. Specify   Telecom Solutions, Inc. - listed for notice only


 4.6
 3        CTC*CONSTANTCONTACT.COM                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1601 Trapelo Road                                           When was the debt incurred?
          Waltham, MA 02451
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.6
 4        Danny Conner                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1002 Brandon Lakes Ave                                      When was the debt incurred?
          Valrico, FL 33594
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.6
 5        Data Trans                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          510 W. Belmont #1911                                        When was the debt incurred?
          Chicago, IL 60657
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.6
 6        DataMotion, Inc.                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Park Ave - Suite 302                                    When was the debt incurred?
          Florham Park, NJ 07932
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.6
 7        Datto, Inc.                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          101 Merritt 7                                               When was the debt incurred?
          Norwalk, CT 06851
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.6
 8        David M. Lesser & Associates                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          855 West George St                                          When was the debt incurred?
          Ste 200
          Chicago, IL 60657
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.6
 9        Dearborn National Life Insurance                            Last 4 digits of account number       2161                                                   $0.00
          Nonpriority Creditor's Name
          36788 Eagle Way                                             When was the debt incurred?
          Chicago, IL 60678-1367
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.7
 0        Dell Inc                                                    Last 4 digits of account number       6505                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 802816                                               When was the debt incurred?
          CHICAGO, IL 60680-2816
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.7
 1        Delta Dental of Illinois                                    Last 4 digits of account number       5118                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 804067                                               When was the debt incurred?
          CHICAGO, IL 60680-4067
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.7      Department of Consumer &
 2        Regulatory                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 91360                                                When was the debt incurred?
          Washington, DC 20090
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.7
 3        Department of Revenue Services                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2936                                                 When was the debt incurred?
          Hartford, CT 06104-2936
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.7
 4        Dept of State Division of Corp                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          99 Washington Ave                                           When was the debt incurred?
          Albany, NY 12231-0001
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of Innovative Government Telecom
              Yes                                                        Other. Specify   Solutions, Inc.- listed for notice only


 4.7
 5        Direct Staffing Group LLC                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1112 S. Birch Dr.                                           When was the debt incurred?
          Mount Prospect, IL 60056
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.7
 6        Director of Revenue                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          State of Missouri                                           When was the debt incurred?
          PO Box 360
          Jefferson City, MO 65102
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.7
 7        Division of Corporations - Reg                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 6327                                                 When was the debt incurred?
          Tallahassee, FL 32314
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.7
 8        DocuSign Inc.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 123428 - Dept. 3428                                  When was the debt incurred?
          Dallas, TX 75312-3428
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.7
 9        Double-Take Software, Inc.                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Dept CH 10875                                               When was the debt incurred?
          Palatine, IL 60055-0875
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.8
 0        ePlan Services                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4300 Kittredge St. #100                                     When was the debt incurred?
          Denver, CO 80239
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.8
 1        Expert Messenger                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1936                                                 When was the debt incurred?
          Pinellas Park, FL 33780
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.8
 2        Federal Communications Commission                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 358835                                             When was the debt incurred?
          Pittsburgh, PA 15251-5835
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.8
 3        FedEx                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 94515                                                When was the debt incurred?
          PALATINE, IL 60094-4515
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.8
 4        Florida Public Service Commission                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2540 Shumard Oak Boulevard                                  When was the debt incurred?
          Tallahassee, FL 32399-0850
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.8
 5        Florida State Disbursement Unit                             Last 4 digits of account number       CA09                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 8500                                                 When was the debt incurred?
          Tallahassee, FL 32314-8500
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.8
 6        Fortinet                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          899 Kifer Road                                              When was the debt incurred?
          Sunnyvale, CA 94086
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.8
 7        FP Mailing Solutions                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 157                                                  When was the debt incurred?
          Bedford Park, IL 60499-0157
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.8
 8        FreedomVoice                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          169 Sacony Rd - Suite 212                                   When was the debt incurred?
          Encinitas, CA 92024
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.8
 9        Frontier                                                    Last 4 digits of account number       3065                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 740407                                               When was the debt incurred?
          Cincinnati, OH 45274-0407
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 0        Frontier Comm of Oregon                                     Last 4 digits of account number       17S3                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 92713                                              When was the debt incurred?
          Rochester, NY 14692
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 1        Georgia Public Utility Service Comm                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 934025                                               When was the debt incurred?
          Atlanta, GA 31193-4025
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.9
 2        GFC LEASING                                                 Last 4 digits of account number       4226                                                   $0.00
          Nonpriority Creditor's Name
          P.O. BOX 2290                                               When was the debt incurred?
          MADISON, WI 53701-2290
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 3        Global Capacity                                             Last 4 digits of account number       3755                                                   $0.00
          Nonpriority Creditor's Name
          Lockbox 33029                                               When was the debt incurred?
          Wholesale P.O. BOX 39000
          San Francisco, CA 94139
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 4        Global Telecom & Technology                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8484 Westpark Dr - Ste 720                                  When was the debt incurred?
          McLean, VA 22102
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of Innovative Government Telecom
              Yes                                                        Other. Specify   Solutions, Inc.- listed for notice only




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 4.9
 5        GOLDCOASTINTERNET.NET                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 195                                                  When was the debt incurred?
          Boca Raton, FL 33429
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 6        Gordon Flesch Company, Inc                                  Last 4 digits of account number       2674                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 992                                                When was the debt incurred?
          Madison, WI 53701-0992
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 7        Grange IndemnityInsurance Co                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 88017                                              When was the debt incurred?
          Chicago, IL 60680-1017
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.9
 8        Granite Telecommunications                                  Last 4 digits of account number       7285                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 983119                                               When was the debt incurred?
          Boston, MA 02298-3119
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.9
 9        GTT                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7900 TysonsOne Place - Suite 1450                           When was the debt incurred?
          McLean, VA 22102
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetwrok Services, LLC, iNetworks
                                                                                          Group, Inc and Innovative Government
              Yes                                                        Other. Specify   Telecom Solutions, Inc.- listed for notice only


 4.1
 00       Hillsborough County                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 E. Kennedy Blvd                                         When was the debt incurred?
          Tampa, FL 33602
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 01       HiTech Compliance                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3905 Tampa Road - Suite 213                                 When was the debt incurred?
          Oldsmar, FL 34677
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 02       Holland & Knight LLP                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 864084                                               When was the debt incurred?
          Orlando, FL 32886-4084
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.1
 03       Hugh Clarke                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8200 Adrina Shore Way                                       When was the debt incurred?
          Boynton Beach, FL 00033-3473
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 04       Humana                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 557                                                  When was the debt incurred?
          Carol Stream, IL 61032-0557
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 05       Hyde Park Bank                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1525 E. 53rd St.                                            When was the debt incurred?
          Chicago, IL 60615
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 06       Illinois ASBO                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          108 Carroll Avenue                                          When was the debt incurred?
          DeKalb, IL 60115-2829
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 07       Illinois Commerce Commission                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          527 East Capitol Ave.                                       When was the debt incurred?
          Springfield, IL 62701
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 08       Illinois Dept of Human Resources                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 South Grand Avenue East                                 When was the debt incurred?
          Springfield, IL 62762
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 09       Illinois Secretary of State                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 E. Monroe                                               When was the debt incurred?
          Springfield, IL 62756
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 10       IMG Technologies, Inc.                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Dept. 4393                                                  When was the debt incurred?
          Carol Stream, IL 60122
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 11       Ingram Cloud, Inc                                           Last 4 digits of account number       4524                                                   $0.00
          Nonpriority Creditor's Name
          P. O. Box 90341                                             When was the debt incurred?
          Chicago, IL 60696-0341
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 12       Ingram Micro, Inc.                                          Last 4 digits of account number       2000                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 90341                                                When was the debt incurred?
          Chicago, IL 60696-0341
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only




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 4.1                                                                                                        Ingram
 13       Ingram Micro, Inc.                                          Last 4 digits of account number       Micro, Inc.                                            $0.00
          Nonpriority Creditor's Name
          1759 Wehrle Drive                                           When was the debt incurred?
          Williamsville, NY 14221
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.1
 14       Insight Global, LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 198226                                               When was the debt incurred?
          Atlanta, GA 30384-8226
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.1
 15       InterPark                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          91144 Collection Center Drive                               When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 16       InterstateTRS Fund Administrator                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 62634                                                When was the debt incurred?
          Baltimore, MD 21264-2631
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 17       J'son Cable                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6715 Cambridge Park Drive                                   When was the debt incurred?
          Apollo Beach, FL 33572
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 18       Jan-Pro of Northern Illinois                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          136 Shore Drive                                             When was the debt incurred?
          Burr Ridge, IL 60527
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 19       Janeen Welsh                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4812 W Roseland Ave                                         When was the debt incurred?
          Peoria, IL 61604
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 20       Janice Hamilton                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Avon Court                                                When was the debt incurred?
          Mackinaw, IL 61755
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 21       Jeremy Nelson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          c/o JNIT Inc.                                               When was the debt incurred?
          6203 N. Flora Vista Ave.
          Tampa, FL 33604-2770
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 22       Jive                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          CH 19606                                                    When was the debt incurred?
          Palatine, IL 6055-9606
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 23       JNIT Inc.                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6203 N Flora Vista Ave                                      When was the debt incurred?
          Tampa, FL 33604-2770
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 24       John Connors                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          224 Marlberry Circle                                        When was the debt incurred?
          Jupiter, FL 33458
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 25       Jones Lang LaSalle                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Park Avenue                                              When was the debt incurred?
          Morristown, NJ 07960
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 26       Jori Mitchell                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8413 Horizon Court                                          When was the debt incurred?
          Tinley Park, IL 60487
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 27       Jose Castellon                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9004 W 89th Street                                          When was the debt incurred?
          Hickory Hills, IL 60457
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 28       JP Extreme Hauling                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5108 Carrollwood Meadows Dr.                                When was the debt incurred?
          Tampa, FL 33625
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 29       Kane Family Limited Partnership                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1509 W. Berwyn Avenue - Suite 200                           When was the debt incurred?
          Chicago, IL 60640
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 30       Kansas Corporation Commission                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1500 SW Arrowhead Rd.                                       When was the debt incurred?
          Topeka, KS 66604-4027
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 31       Keith White                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8434 East Palm Lane                                         When was the debt incurred?
          Scottsdale, AZ 85257
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 32       Kelly Terpenning                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11109 Blue Magnolia Ln                                      When was the debt incurred?
          Parrish, FL 34219
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 33       Kevin Marquardt                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          851 N Hoyne Ave, Apt 3F                                     When was the debt incurred?
          Chicago, IL 60622
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 34       KFORCE                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1001 East Palm Avenue                                       When was the debt incurred?
          Tampa, FL 33605
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 35       Khaled Okla                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14030 Laramie Avenue, # 1712A                               When was the debt incurred?
          Crestwood, IL 60445
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 36       Kings Cash Group                                            Last 4 digits of account number                                                     $104,878.35
          Nonpriority Creditor's Name
          30 Broad St., 12th FL                                       When was the debt incurred?
          New York, NY 10004
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          personal guaranty of loan to INETWORKs
              Yes                                                        Other. Specify   SERVICES, LLC




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 4.1
 37       Klarian Capital Group                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          855 West George St                                          When was the debt incurred?
          Suite 200
          Chicago, IL 60657-2466
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 38       Labtech Software LLC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4110 George Road - Suite 200                                When was the debt incurred?
          Tampa, FL 33634
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 39       Level (3)                                                   Last 4 digits of account number       9059                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 910182                                               When was the debt incurred?
          Denver, CO 80291-0182
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 40       Life Start Wellness Network                                 Last 4 digits of account number       6191                                                   $0.00
          Nonpriority Creditor's Name
          125 S. Wacker Dr.                                           When was the debt incurred?
          Suite 200
          Chicago, IL 60606
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 41       Lifeboat Distribution                                       Last 4 digits of account number       4735                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 3826                                                 When was the debt incurred?
          Carol Stream, IL 60132-3826
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 42       LiveWire Electrical Systems Inc.                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12900 S. Throop                                             When was the debt incurred?
          Calumet Park, IL 60827
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 43       LogMeIn                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          320 Summer Street                                           When was the debt incurred?
          Boston, MA 02210-1701
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 44       Manage2Win                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7075 Redwood Blvd. - Suite L                                When was the debt incurred?
          Novato, CA 94945
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 45       Matex LLC                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Graymoor Ln.                                              When was the debt incurred?
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 46       Matthew Levy                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Graymoor Ln                                               When was the debt incurred?
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 47       Matthew Ward                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          453 Sterlington road                                        When was the debt incurred?
          Columbia, SC 29212
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 48       MEBCO, Inc.                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 560066                                               When was the debt incurred?
          Montverde, FL 34756
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 49       MegaPath                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 120324                                               When was the debt incurred?
          Dallas, TX 75312-0324
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 50       MetTel                                                      Last 4 digits of account number       2344                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 9660                                                 When was the debt incurred?
          Manchester, NH 03108-9660
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 51       Michael Coburn                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16419 Magnolia Bluff Dr                                     When was the debt incurred?
          Montverde, FL 34756
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 52       Michael Gardener                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6601 NW 20th Street                                         When was the debt incurred?
          Margate, FL 33063
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 53       Michael O'Neill                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          510 N Blue Lake Ave                                         When was the debt incurred?
          Deland, FL 32724
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 54       Michigan Dept. of Licensing & Reg                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 30054                                                When was the debt incurred?
          Lansing, MI 48909
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 55       Microsoft Corporation                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Microsoft Way                                            When was the debt incurred?
          Redmond, WA 56743
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 56       Mimecast                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Department CH 10922                                         When was the debt incurred?
          PALATINE, IL 60055-0922
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 57       Mississipi Secretary of State                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 136                                                  When was the debt incurred?
          Jackson, MS 39205-0136
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 58       MOZY                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2162 W Grove Pkwy                                           When was the debt incurred?
          PLEASANT GROVE, UT 84062
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc- listed for notice only


 4.1
 59       Municipal Assoc. South Carolina                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 60489                                                When was the debt incurred?
          Charlotte, NC 28260-0489
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 60       MXAlerts                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          148 W. 37th Street - 6th Floor                              When was the debt incurred?
          New York, NY 10018
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 61       My Pro Bookkeepers, Inc.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Tower Dr                                                When was the debt incurred?
          Suite 224
          Burr Ridge, IL 60527
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 62       National Funding, Inc.                                      Last 4 digits of account number                                                      $77,330.00
          Nonpriority Creditor's Name
          9820 Towne Center Dr                                        When was the debt incurred?
          San Diego, CA 92121
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          personal guaranty of loan to INETWORKS
              Yes                                                        Other. Specify   GROUP, INC.


 4.1
 63       Netgear                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          350 E. Plumeria Drive                                       When was the debt incurred?
          San Jose, CA 95134
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 64       Netria Corporation                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 4110                                                 When was the debt incurred?
          Woburn, MA 01888-4110
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 65       NeuStar, Inc.                                               Last 4 digits of account number       5613                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 403034                                             When was the debt incurred?
          Atlanta, GA 30384-3034
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 66       New Dimensions High School                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4900 Old Pleasant Hill Road                                 When was the debt incurred?
          Kissimmee, FL 34759
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 67       New England Fiber, Inc                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2150 Washington St                                          When was the debt incurred?
          Suite 100
          Newton, MA 02462
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 68       nGenx                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4575 Pecan Dr                                               When was the debt incurred?
          3rd Floor
          Paducah, KY 42001
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 69       NoaNet                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 13                                                   When was the debt incurred?
          Spokane, WA 99210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 70       North Carolina Utilities Commission                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4325 Mail Service Center                                    When was the debt incurred?
          Raleigh, NC 27699-4325
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 71       NowAccount Networks Corporation                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2300 Peachtree Rd, NW                                       When was the debt incurred?
          Suite C-102
          Atlanta, GA 30309
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
                                                                                          Innovative Government Telecom Solutions,
              Yes                                                        Other. Specify   Inc. - listed for notice only


 4.1
 72       Office of Ohio Consumers' Council                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 W. Broad Street - Suite 1800                             When was the debt incurred?
          Columbus, OH 43215-3485
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 73       OpenDNS                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          135 Bluxome St.                                             When was the debt incurred?
          San Francisco, CA 94107
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.1
 74       Oracle Systems Corporation                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 203448                                             When was the debt incurred?
          Dallas, TX 75320-3448
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 75       Oregon Public Utility Commission                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 2153                                               When was the debt incurred?
          Salem, OR 97308-2153
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 76       OWN WEB NOW CORP                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8131 Vineland Avenue                                        When was the debt incurred?
          Orlando, FL 32821
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 77       PA USF                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 360395                                               When was the debt incurred?
          Pettsburg, PA 15251
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 78       PAETEC                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 9001013                                              When was the debt incurred?
          Louisville, KY 40290-1013
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 79       Paychex                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 East Warrenville Rd #200                               When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 80       Peoples Gas                                                 Last 4 digits of account number       0001                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 19100                                                When was the debt incurred?
          Green Bay, WI 54307-9100
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 81       Personnel Concepts                                          Last 4 digits of account number       1948                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 5750                                               When was the debt incurred?
          Carol Stream, IL 60197-5750
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 82       ProTech Professional                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          975 Airbrake Ave.                                           When was the debt incurred?
          Turtle Creek, PA 15145
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 83       Public Regulation Commission-NM                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          224 East Palace Ave                                         When was the debt incurred?
          Santa Fe, NM 87501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 84       Public Service Comm of Maryland                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16th Floor 6 St. Paul Street                                When was the debt incurred?
          Baltimore, MD 21202-6806
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 85       Public Service Comm of Wisconsin                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 7854                                               When was the debt incurred?
          Madison, WI 53707-7854
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 86       Public Utilities Comm of Hawaii                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          465 S. King St                                              When was the debt incurred?
          Room 103
          Honolulu, HI 96813
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 87       Public Utilities Comm of Nevada                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1150 E. William St.                                         When was the debt incurred?
          Carson City, NV 89701-3109
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 88       Public Utilities Comm of Oregon                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2153                                                 When was the debt incurred?
          Salem, OR 97308-2153
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 89       Public Utilities Commission of Ohio                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          180 E Broad St                                              When was the debt incurred?
          Columbus, OH 43215
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 90       Quest Software, Inc.                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4 Polaris Way                                               When was the debt incurred?
          Aliso Viejo, CA 92656-5356
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 91       QuoteWorks                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7680 Universal Blvd. - Suite 360                            When was the debt incurred?
          Orlando, FL 32819
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.1
 92       Rapid Advance Financial Services,                           Last 4 digits of account number                                                      $52,468.75
          Nonpriority Creditor's Name
          4500 E West Highway, 6th FL                                 When was the debt incurred?
          Bethesda, MD 20814
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          personal guaranty of loan to INETWORKS
              Yes                                                        Other. Specify   SERVICES, LLC


 4.1
 93       Raymond Cowley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          740 Cooper Court E                                          When was the debt incurred?
          Aurora, IL 60504
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.1
 94       ReadyRefresh by Nestle                                      Last 4 digits of account number       0847                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 856680                                               When was the debt incurred?
          Louisville, KY 40285-6680
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 95       Realty & Mortgage Co.                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1509 W. Berwyn Ave - Suite 200                              When was the debt incurred?
          Chicago, IL 60640
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 96       Republic Services                                           Last 4 digits of account number       0007                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 9001154                                              When was the debt incurred?
          Louisville, KY 40793-3858
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.1
 97       Rhonda Okleshen                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10758 Voss Dr                                               When was the debt incurred?
          Orland Park, IL 60467
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.1
 98       Robert Half Technology                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12400 Collections Center Drive                              When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.1
 99       RSM US LLP                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5155 Paysphere Circle                                       When was the debt incurred?
          Chicago, IL 60674-0051
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 00       Salvador Gonzalez                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 W Fuller                                               When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 01       Saulray LLC                                                 Last 4 digits of account number                                                        $7,082.60
          Nonpriority Creditor's Name
          8317 N Armenia Ave                                          When was the debt incurred?
          Tampa, FL 33604
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Guaranty of lease for iNetworks Services, LLC


 4.2
 02       SC Office of Regulatory Staff                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 Main St.                                               When was the debt incurred?
          Suite 900
          Columbia, SC 29201
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 03       Screenconect Software                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4110 George Road, Suite 200                                 When was the debt incurred?
          Tampa, FL 33634
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 04       Sean Humphries                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2844 N. Orchard, Apt 37                                     When was the debt incurred?
          Chicago, IL 60657
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 05       Secretary of State                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          213 State Capitol                                           When was the debt incurred?
          Springfield, IL 62756
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 06       Secretary of State                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 94608                                                When was the debt incurred?
          Lincoln, NE 68509-4608
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 07       Secretary of State - CA                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 944228                                               When was the debt incurred?
          Sacramento, CA 94244-2280
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 08       Secretary, Public Service Comm                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 E. 300 South                                            When was the debt incurred?
          Suite 400
          Salt Lake City, UT 84111
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 09       SecurEnvoy                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Basing View                                                 When was the debt incurred?
          Basingstoke, Hampshire RG21 4EB
          United Kingdom
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.2
 10       Shared Solutions and Services, Inc                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 4869                                                 When was the debt incurred?
          Department #145
          Houston, TX 77210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 11       Sharon Leach                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          520 2nd Ave SE                                              When was the debt incurred?
          Lutz, FL 33549
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.2
 12       Sheri Mock                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5150 Bethany Lane                                           When was the debt incurred?
          Haverhill, FL 33415
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 13       ShoreTel                                                    Last 4 digits of account number       3954                                                   $0.00
          Nonpriority Creditor's Name
          4921 Solution Center                                        When was the debt incurred?
          Chicago, IL 6077-4009
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 14       Siegel & Callahan, P.C.                                     Last 4 digits of account number                                                        $1,000.00
          Nonpriority Creditor's Name
          20 N Clark St. Suite 2200                                   When was the debt incurred?
          Chicago, IL 60602
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Legal services




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 4.2
 15       Slack                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          155 5th St                                                  When was the debt incurred?
          San Francisco, CA 94103
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 16       Smart Sheet                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10500 NE 8th St - Suite 1300                                When was the debt incurred?
          Bellevue, WA 98004-4357
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 17       Social Finance (SoFi)                                       Last 4 digits of account number       6836                                          $102,554.00
          Nonpriority Creditor's Name
          375 Healdsburg Ave #280                                     When was the debt incurred?
          Healdsburg, CA 95448
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Personal loan- proceeds primarily used for
              Yes                                                        Other. Specify   business purposes




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 4.2
 18       Solix Inc - IN USF                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 223509                                               When was the debt incurred?
          Pittsburg, PA 15251-2509
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 19       Solix Inc-AZUSF                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 Lanidex Plaza West                                       When was the debt incurred?
          PO Box 685
          Parsippany, NJ 07054
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 20       Solix, Inc. TUSF Administrator                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 S. Jefferson Rd                                         When was the debt incurred?
          P.O. Box 902
          Whippany, NJ 07981
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 21       South Carolina Office of Regulatory                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 Main St.                                               When was the debt incurred?
          Ste 900
          Columbia, SC 29201
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 22       South Dakota Networks                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2900 West 10th Street                                       When was the debt incurred?
          Sioux Falls, SD 57104
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 23       South Dakota Public Utilities Comm                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 E. Capitol Ave                                          When was the debt incurred?
          Pierre, SD 57501
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 24       Sprint                                                      Last 4 digits of account number       7819                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 54977                                                When was the debt incurred?
          Los Angeles, CA 90054-0977
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 25       St. Andrews Catholic High School                            Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          1710 W Addison St                                           When was the debt incurred?
          Chicago, IL 60613
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   tuition


 4.2
 26       St. Ignatius College Prep                                   Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          1076 W Roosevelt Road                                       When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   tuition - 3 children




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 4.2
 27       Staples Advantage                                           Last 4 digits of account number       2006                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 83689                                                When was the debt incurred?
          Chicago, IL 60696-3689
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 28       State Comptroller                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 E. 17th Street                                          When was the debt incurred?
          Austin, TX 78774-0100
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 29       Stratus Networks                                            Last 4 digits of account number       5224                                                   $0.00
          Nonpriority Creditor's Name
          4700 N. Prospect Rd - Suite 8                               When was the debt incurred?
          Peoria Heights, IL 61616
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 30       Sure Payroll                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2350 Ravine Way - Suite 100                                 When was the debt incurred?
          Glenview, IL 60025
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 31       Synnex Corporation                                          Last 4 digits of account number       5491                                                   $0.00
          Nonpriority Creditor's Name
          5845 Collections Center Dr                                  When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only


 4.2
 32       Targeted Accessibility Fund of NY                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 Corporate Woods Blvd #215                                When was the debt incurred?
          Albany, NY 12211
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 33       Tech Data                                                   Last 4 digits of account number       5527                                                   $0.00
          Nonpriority Creditor's Name
          25121 Network Place                                         When was the debt incurred?
          Chicago, IL 60673-1251
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 34       Tech Data                                                   Last 4 digits of account number       Tech Data                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 277847                                             When was the debt incurred?
          Atlanta, FL
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 35       Teco Tampa Electric                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 31318                                                When was the debt incurred?
          Tampa, FL 33631-3318
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 36       Tel-Star Cablevision, Inc.                                  Last 4 digits of account number       2105                                                   $0.00
          Nonpriority Creditor's Name
          1295 Lourdes Rd.                                            When was the debt incurred?
          Metamora, IL 61548-7710
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 37       The Cogent Group, Inc. - CCI                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          c/o Tim Woodcock                                            When was the debt incurred?
          2321 Marina Drive W, Apt. 105
          Fort Lauderdale, FL 33312
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 38       The Hartford                                                Last 4 digits of account number       1650                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 660916                                               When was the debt incurred?
          Dallas, TX 75266-0916
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 39       ThreatTrack Security, Inc.                                  Last 4 digits of account number       1141                                                   $0.00
          Nonpriority Creditor's Name
          311 Park Place Blvd - Suite 300                             When was the debt incurred?
          Clearwater, FL 33759
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 40       Tim Woodcock                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2321 Marina Bay Drive W                                     When was the debt incurred?
          Apt. 105
          Fort Lauderdale, FL 33312
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 41       Tracey Levy                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Graymoor Ln                                               When was the debt incurred?
          Olympia Fields, IL 60461
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.2
 42       Trans-Video, Inc                                            Last 4 digits of account number       6706                                                   $0.00
          Nonpriority Creditor's Name
          56 Depot Sq. - Ste. 4                                       When was the debt incurred?
          Northfield, VT 05663
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 43       Transamerica Occidental Life                                Last 4 digits of account number       3427                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 742528                                             When was the debt incurred?
          Cincinnati, OH 45274-2528
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of Innovative Government Telecom
                                                                                          Solutions, Inc. and iNetworks Group, Inc- listed
              Yes                                                        Other. Specify   for notice only


 4.2
 44       Travelers                                                   Last 4 digits of account number       5209                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 660317                                               When was the debt incurred?
          Dallas, TX 75266-0317
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 45       Tsungirirai Ludy                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6407 El Rancho Rd                                           When was the debt incurred?
          Louisville, KY 40291
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 46       ULINE                                                       Last 4 digits of account number       9685                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 88741                                                When was the debt incurred?
          CHICAGO, IL 60680-1741
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 47       Universal Service Administrative Co                         Last 4 digits of account number       3740                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 105056                                               When was the debt incurred?
          Atlanta, GA 30348-5056
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 48       UPS                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Lockbox 577                                                 When was the debt incurred?
          Carol Stream, IL 60132-0577
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 49       US Bank                                                     Last 4 digits of account number       9440                                           $10,000.00
          Nonpriority Creditor's Name
          P.O. Box 1800                                               When was the debt incurred?
          Saint Paul, MN 55101-0800
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   line of credit


 4.2
 50       US Bank                                                     Last 4 digits of account number       1107                                           $24,653.00
          Nonpriority Creditor's Name
          PO Box 790408                                               When was the debt incurred?
          St. Louis, MO 65179-0406
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   credit card




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 4.2
 51       Utah Division of Public Utilities                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 146751                                               When was the debt incurred?
          Salt Lake City, UT 84114-6751
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 52       Verizon                                                     Last 4 digits of account number       5344                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 4832                                               When was the debt incurred?
          Trenton, NJ 08650-4832
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 53       Verizon                                                     Last 4 digits of account number       7914                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 25505                                              When was the debt incurred?
          Lehigh Valley, PA 18002-5505
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 54       Verizon                                                     Last 4 digits of account number       8354                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 371873                                             When was the debt incurred?
          Pittsburgh, PA 15250-7873
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 55       Verizon                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 660072                                               When was the debt incurred?
          Dallas, TX 7526-0072
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 56       Vermont USF                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 780018                                               When was the debt incurred?
          Philadelphia, PA 19178-0018
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 57       Vickram Budhram                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3405 Glossy Leaf Lane                                       When was the debt incurred?
          Clermont, FL 34711
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 58       Vision Service Plan of Illinois, NFP                        Last 4 digits of account number       3259                                                   $0.00
          Nonpriority Creditor's Name
          3333 Quality Drive                                          When was the debt incurred?
          Rancho Cordova, CA 95670
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 59       Vision Solutions                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15300 Barranca Parkway                                      When was the debt incurred?
          Irvine, CA 92618
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 60       VMware                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3401 Hillview Ave                                           When was the debt incurred?
          Palo Alto, CA 94304
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 61       WA UTC                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1300 S. Evergreen Park Drive SW                             When was the debt incurred?
          Olympia, WA 98504
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 62       William Classen                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9516 Northwest 80th Court                                   When was the debt incurred?
          Tamarac, FL 33321
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only




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 4.2
 63       William Gerth                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          104 Oakwood Dr                                              When was the debt incurred?
          Maitland, FL 32751
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 64       William Okleshen                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10758 Voss Dr                                               When was the debt incurred?
          Orland Park, IL 60467
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   iNetworks employee listed for notice only


 4.2
 65       Windstream                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 9001950                                              When was the debt incurred?
          Louisiville, KY 40290-1950
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC and
              Yes                                                        Other. Specify   iNetworks Group, Inc - listed for notice only




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 4.2
 66       Winncom Technologies                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 536658                                               When was the debt incurred?
          Pittsburg, PA 00053-6658
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 67       Work Market                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 High Street                                               When was the debt incurred?
          Huntington, NY 11743
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 68       www.logmein.com                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          320 Summer Street                                           When was the debt incurred?
          Boston, MA 02210
          Number Street City State ZIp Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only




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 4.2
 69        XEROX                                                      Last 4 digits of account number       8092                                                   $0.00
           Nonpriority Creditor's Name
           25720 Network Place                                        When was the debt incurred?
           Chicago, IL 60673-1257
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Services, LLC - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 70        XO Communications                                          Last 4 digits of account number       6734                                                   $0.00
           Nonpriority Creditor's Name
           14239 Collections Center Drive                             When was the debt incurred?
           Chicago, IL 60693
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only


 4.2
 71        Zenefits                                                   Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           North Tower, 303 2nd St #401                               When was the debt incurred?
           San Francisco, CA 94107
           Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                          Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                            report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          creditor of iNetworks Group, Inc - listed for
              Yes                                                        Other. Specify   notice only

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 111 of 113
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                 Case 17-24063                   Doc 19              Filed 09/08/17 Entered 09/08/17 14:42:18                                      Desc Main
                                                                     Document     Page 126 of 135
 Debtor 1 David J Smat                                                                                    Case number (if know)          17-24063
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ariel Bouskila                                                Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Berkovitch & Bouskila, PLLC                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 40 Exchange Place, Suite 1306
 New York, NY 10005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ariel Bouskila                                                Line 4.136 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Berkovitch & Bouskila, PLLC                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 40 Exchange Place, Suite 1306
 New York, NY 10005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Callahan Management                                           Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 125 S. Wacker Dr #210                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60606
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Christopher M. Heintskill                                     Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Levenfeld Pearlstein LP                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 2 N. LaSalle St. Suite 1300
 Chicago, IL 60602
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Illinois Department of Revenue                                Line 2.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 100 W. Randolph                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy Section L 7-425
 Chicago, IL 60602
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Funding, Inc.                                        Line 4.162 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Neal Salisian                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 550 S Hope St #750
 Los Angeles, CA 90071-2627
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Saulray LLC % Christopher H. Norman                           Line 4.201 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Hines Norman Hines PL                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 315 S Hyde Park Ave
 Tampa, FL 33606
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
         Total
       claims


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 112 of 113
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                Case 17-24063                    Doc 19              Filed 09/08/17 Entered 09/08/17 14:42:18                      Desc Main
                                                                     Document     Page 127 of 135
 Debtor 1 David J Smat                                                                               Case number (if know)   17-24063
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             564,327.38

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             564,327.38




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 113 of 113
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                   Case 17-24063                  Doc 19             Filed 09/08/17 Entered 09/08/17 14:42:18                        Desc Main
                                                                     Document     Page 128 of 135
 Fill in this information to identify your case:

 Debtor 1                  David J Smat
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number           17-24063
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                   Case 17-24063                    Doc 19            Filed 09/08/17 Entered 09/08/17 14:42:18               Desc Main
                                                                      Document     Page 129 of 135
 Fill in this information to identify your case:

 Debtor 1                   David J Smat
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number           17-24063
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         INETWORKS GROUP, INC.                                                                 Schedule D, line
                125 S Wacker Dr #2510                                                                 Schedule E/F, line     4.162
                Chicago, IL 60606
                                                                                                      Schedule G
                                                                                                    National Funding, Inc.



    3.2         INETWORKS GROUP, INC.                                                                  Schedule D, line
                125 S Wacker Dr #2510                                                                  Schedule E/F, line    4.136
                Chicago, IL 60606
                                                                                                       Schedule G
                                                                                                    Kings Cash Group



    3.3         INETWORKS SERVICES, LLC                                                               Schedule D, line
                125 S. Wacker Dr. #2510                                                               Schedule E/F, line     4.35
                Chicago, IL 60606
                                                                                                      Schedule G
                                                                                                    Cash Crunch




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 3
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               Case 17-24063                     Doc 19              Filed 09/08/17 Entered 09/08/17 14:42:18                Desc Main
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 Debtor 1 David J Smat                                                                        Case number (if known)   17-24063


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.4      INETWORKS SERVICES, LLC                                                                 Schedule D, line
             125 S. Wacker Dr. #2510                                                                 Schedule E/F, line   4.192
             Chicago, IL 60606
                                                                                                     Schedule G
                                                                                                   Rapid Advance Financial Services,



    3.5      INETWORKS SERVICES, LLC                                                                 Schedule D, line   2.4
             125 S. Wacker Dr. #2510                                                                 Schedule E/F, line
             Chicago, IL 60606
                                                                                                     Schedule G
                                                                                                   KIA Motors Finance



    3.6      INETWORKS SERVICES, LLC                                                                  Schedule D, line
             125 S. Wacker Dr. #2510                                                                  Schedule E/F, line     4.136
             Chicago, IL 60606
                                                                                                      Schedule G
                                                                                                   Kings Cash Group



    3.7      Innovative Gov't Telecom Solutions                                                       Schedule D, line
             125 S. Wacker Dr #2510                                                                   Schedule E/F, line     4.136
             Chicago, IL 60606
                                                                                                      Schedule G
                                                                                                   Kings Cash Group



    3.8      Tina Smat                                                                                 Schedule D, line   2.1
             2036 W. Barry Ave                                                                         Schedule E/F, line
             Chicago, IL 60618
                                                                                                       Schedule G
                                                                                                   Alliant Credit Union



    3.9      Tina Smat                                                                               Schedule D, line
             2036 W. Barry Ave                                                                       Schedule E/F, line      4.38
             Chicago, IL 60618
                                                                                                     Schedule G
                                                                                                   Chase



    3.10     Tina Smat                                                                               Schedule D, line
             2036 W. Barry Ave                                                                       Schedule E/F, line      4.249
             Chicago, IL 60618
                                                                                                     Schedule G
                                                                                                   US Bank




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 2 of 3
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               Case 17-24063                     Doc 19              Filed 09/08/17 Entered 09/08/17 14:42:18                Desc Main
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 Debtor 1 David J Smat                                                                        Case number (if known)   17-24063


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.11     Tina Smat                                                                               Schedule D, line
             2036 W. Barry Ave                                                                       Schedule E/F, line      4.250
             Chicago, IL 60618
                                                                                                     Schedule G
                                                                                                   US Bank



    3.12     Tina Smat                                                                                Schedule D, line
             2036 W. Barry Ave                                                                        Schedule E/F, line   4.225
             Chicago, IL 60618
                                                                                                      Schedule G
                                                                                                   St. Andrews Catholic High School



    3.13     Tina Smat                                                                                Schedule D, line
             2036 W. Barry Ave                                                                        Schedule E/F, line     4.226
             Chicago, IL 60618
                                                                                                      Schedule G
                                                                                                   St. Ignatius College Prep



    3.14     Tina Smat                                                                               Schedule D, line
             2036 W. Barry Ave                                                                       Schedule E/F, line      4.10
             Chicago, IL 60618
                                                                                                     Schedule G
                                                                                                   American Express




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 3 of 3
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Fill in this information to identify your case:

Debtor 1                      David J Smat

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number               17-24063                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
             Case 17-24063             Doc 19        Filed 09/08/17 Entered 09/08/17 14:42:18                                     Desc Main
                                                     Document     Page 133 of 135

Debtor 1    David J Smat                                                                          Case number (if known)    17-24063


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
      5e.    Insurance                                                                     5e.        $              0.00     $               0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
      5g.    Union dues                                                                    5g.        $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     5.20   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  5.20     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 5.20 + $              0.00 = $             5.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $             5.20
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Currently seeing employment




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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                                                         Document     Page 134 of 135


Fill in this information to identify your case:

Debtor 1                 David J Smat                                                                      Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number           17-24063
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Wife                                                      Yes
                                                                                                                                             No
                                                                                   Son                                  10                   Yes
                                                                                                                                             No
                                                                                   Son                                  14                   Yes
                                                                                                                                             No
                                                                                   Son                                  16                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             4,005.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           1,500.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             600.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           1,000.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           2,600.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     David J Smat                                                                              Case number (if known)      17-24063

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                600.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                400.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                             2,000.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               600.00
10.   Personal care products and services                                                    10. $                                                100.00
11.   Medical and dental expenses                                                            11. $                                                300.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                 500.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                               2,000.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 300.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                 861.00
      17b. Car payments for Vehicle 2                                                      17b. $                                               1,500.00
      17c. Other. Specify: company vehicle 1                                               17c. $                                                 300.00
      17d. Other. Specify: company vehicle 2                                               17d. $                                                 300.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   50.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      21,016.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      21,016.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                   5.20
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             21,016.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -21,010.80

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Decrease in home, auto & personal expenses




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
